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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA

                              Alexandria Division

UNITED STATES OF AMERICA            :
                                    :      Criminal No. 21-CR-245 (AJT)
           v.                       :
                                    :
IGOR Y. DANCHENKO,                  :
                                    :
                 Defendant.         :


                 GOVERNMENT’S LIST OF TRIAL EXHIBITS


 GX #                         FBI Records                                 Admitted
  100 3-DAY INTERVIEW REPORT OF IGOR DANCHENKO
  101 2017-05-18 CONTACT REPORT SUBSTITUTION
  102 2017-10-24 CONTACT REPORT SUBSTITUTION
  103 2017-11-02 CONTACT REPORT SUBSTITUTION
  104 ANDERSON, AMY LYNC CHATS
  105 AUTEN, BRIAN LYNC CHAT EXCERPT
  106 HELSON, KEVIN LYNC CHATS
  107 HERTZOG, BRITTANY LYNC CHATS
  114 2017-06-12 104500 EMAIL
  115 3-DAY INTERVIEW OF DANCHENKO 1A EXCERPT EMAIL
 115T 3-DAY INTERVIEW OF DANCHENKO 1A EXCERPT EMAIL
      TRANSCRIPT
  116 3-DAY INTERVIEW OF DANCHENKO 1A EXCERPT BUSINESS
      CARD
  117 DOSSIER REPORTS
  118 IMMUNITY LETTER
  119 2017-05-17 CONTACT REPORT SUBSTITUTION
  120 2017-07-13 CONTACT REPORT SUBSTITUTION
  150 2017-03-16 RECORDING
 0151 2017-03-16 RECORDING EXCERPT
0151T 2017-03-16 RECORDING EXCERPT TRANSCRIPT
 0152 2017-03-16 RECORDING EXCERPT
0152T 2017-03-16 RECORDING EXCERPT TRANSCRIPT
 0153 2017-03-16 RECORDING EXCERPT
0153T 2017-03-16 RECORDING EXCERPT TRANSCRIPT
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  160   2017-05-18 RECORDING
 0161   2017-05-18 RECORDING EXCERPT
0161T   2017-05-18 RECORDING EXCERPT TRANSCRIPT
 0162   2017-05-18 RECORDING EXCERPT
0162T   2017-05-18 RECORDING EXCERPT TRANSCRIPT
 0163   2017-05-18 RECORDING EXCERPT
0163T   2017-05-18 RECORDING EXCERPT TRANSCRIPT
 0164   2017-05-18 RECORDING EXCERPT
0164T   2017-05-18 RECORDING EXCERPT TRANSCRIPT
  170   2017-06-15 RECORDING
 0171   2017-06-15 RECORDING EXCERPT
0171T   2017-06-15 RECORDING EXCERPT TRANSCRIPT
 0172   2017-06-15 RECORDING EXCERPT
0172T   2017-06-15 RECORDING EXCERPT TRANSCRIPT
 0173   2017-06-15 RECORDING EXCERPT
0173T   2017-06-15 RECORDING EXCERPT TRANSCRIPT
 GX#                           Google Records                    Admitted
  203   2016-07-14 044134 EMAIL
  204   2016-07-21 124700 EMAIL
 204T   2016-07-21 124700 TRANSLATION
  205   2016-07-26 093300 EMAIL
 205T   2016-07-26 093300 TRANSLATION
  207   2016-08-18 123300 EMAIL
 207T   2016-08-18 123300 TRANSLATION
 GX#                    Sprint Records (202-679-xxxx)            Admitted
  300   2016-01 CALL DETAIL RECORDS
  301   2016-02 CALL DETAIL RECORDS
  302   2016-03 CALL DETAIL RECORDS
  303   2016-04 CALL DETAIL RECORDS
  304   2016-05 CALL DETAIL RECORDS
  305   2016-06 CALL DETAIL RECORDS
  306   2016-07 CALL DETAIL RECORDS
  307   2016-08 CALL DETAIL RECORDS
  308   2016-09 CALL DETAIL RECORDS
  309   2016-10 CALL DETAIL RECORDS
  310   2016-11 CALL DETAIL RECORDS
  311   2016-12 CALL DETAIL RECORDS
  312   2017-01 CALL DETAIL RECORDS
  313   2017-02 CALL DETAIL RECORDS
  314   2017-03 CALL DETAIL RECORDS
  315   2017-04 CALL DETAIL RECORDS

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 316   2017-05 CALL DETAIL RECORDS
 317   2017-06 CALL DETAIL RECORDS
 318   SPRINT SUBSCRIBER INFO DANCHENKO
GX#                    AT&T Records (202-445-xxxx)               Admitted
 402   CALL DETAIL RECORDS MOBILITY 2017
 403   SUBSCRIBER RECORDS 2017
 404   CALL DETAIL RECORDS INTERNATIONAL 2017
 405   CALL DETAIL RECORDS WIRELINE 2017
 407   CALL DETAIL RECORDS MOBILITY 2016
 408   SUBSCRIBER RECORDS 2016
 409   CALL DETAIL RECORDS INTERNATIONAL 2016
 410   CALL DETAIL RECORDS WIRELINE 2016
GX#                    Verizon Records (404-667-xxxx)            Admitted
 500   BILLING RECORDS
 501   ACCOUNT RECORDS
 503   ACCOUNT RECORDS
GX#                          Facebook Records                    Admitted
 605   2016-06-14 ENTRY
605T   2016-06-14 ENTRY TRANSLATION
 610   2016-09-26 ENTRY
610T   2016-09-26 ENTRY TRANSLATION
 611   2018-04-04 ENTRY
 612   2018-12-09 ENTRY
612T   2018-12-09 ENTRY TRANSLATION
GX#                           KGlobal Records                    Admitted
 700   2016-03-08 164300 EMAIL
 701   2016-03-10 200600 EMAIL
 702   2016-04-29 203300 EMAIL
 703   2016-04-29 204000 EMAIL
 704   2016-04-29 212100 EMAIL
 705   2016-04-30 101100 EMAIL
 706   2016-04-30 175300 EMAIL
 708   2016-05-31 175100 EMAIL
 709   2016-06-10 164900 EMAIL
 710   2016-06-14 080000 EMAIL
 711   2016-07-22 225900 EMAIL
 712   2016-08-19 200600 EMAIL
 713   2016-08-20 124300 EMAIL
 714   2016-08-20 140000 EMAIL
 715   2016-09-22 104500 EMAIL
 717   2017-01-13 111500 EMAIL

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GX#                     Marriott/Ritz Carlton Records            Admitted
 805    2016-06-14 031700 EMAIL
 814   INSIDE THE KREMLIN CONTACT SHEET
GX#                            Public Records                    Admitted
1200   2016-09-23 YAHOO NEWS ARTICLE
1202   2017-01-10 BUZZFEED ARTICLE
1203   2016-08-19 POLITICO ARTICLE
1204   2017-05-17 MUELLER APPOINTMENT
1205   DECLASSIFIED FISA 1
1206   DECLASSIFIED FISA 2
1207   DECLASSIFIED FISA 3
1208   DECLASSIFIED FISA 4
GX#                    Customs & Border Patrol Records           Admitted
1400   SERGEI MILLIAN TRAVEL RECORD
GX#                          LinkedIn Records                    Admitted
1500   DANCHENKO LINKEDIN MESSAGES
1502   DANCHENKO LINKEDIN MESSAGES EXCERPT
GX#                       Summary Witness Records                Admitted
1602   SUMMARY DANCHENKO/DOLAN CALL DETAIL RECORDS
1603   SUMMARY DANCHENKO CALL DETAIL RECORDS
GX#                          Microsoft Records                   Admitted
1702   HOTMAIL SUBSCRIBER INFORMATION DANCHENKO
1703   HOTMAIL CONTACT MILLIAN
1704   HOTMAIL CONTACT DANCHENKO, ALYONA
1705   HOTMAIL CONTACT CDS
1706   HOTMAIL CONTACT MARTIN, JOSH
1707   HOTMAIL CONTACT DOLAN, CHARLES
1708   HOTMAIL CONTACT SIDAR, CENK
1709   HOTMAIL CONTACT K, LYDIA
1710   HOTMAIL CONTACT KUPKA, STEVEN
1711   HOTMAIL CONTACT OLYA




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